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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

        MADELYN ZUPPARDO                             *              CIVIL ACTION
                                                     *              NO. 16-1914
                                                     *
        VERSUS                                       *              DIVISION “G” (3)
                                                     *              JUDGE BROWN
        A SERVICE CAB CO. INC. et al                                *
                                                     *              MAGISTRATE JUDGE
                                                     *              KNOWLES, III


                                   ORDER OF DISMISSAL

        On motion of Plaintiff, Madelyn Zuppardo, that this matter is settled by agreement of all

the parties,

        IT IS ORDERED that this matter be dismissed with prejudice, against A Service Cab

Company, Inc. Defendant with each party to bear their own costs.



        New Orleans, Louisiana, this _________day
                                       8th        of January 2018.




                              ____________________________________
                                          JUDGE
